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                              UNITED STATES DISTRICT COURT
                             CENTRAL DISTRICT OF CALIFORNIA
                                  CIVIL MINUTES − GENERAL


   Case No. 8:17−cv−01397−JVS−JDE                     Date       December 11, 2017

   Title      MEGAN SCHMITT V. YOUNIQUE LLC ET AL


   Present:       The Honorable     James V. Selna , U. S. District Judge
                  Karla Tunis                                 Sharon Seffens
                  Deputy Clerk                            Court Reporter/Recorder

      Attorney(s) Present for Plaintiff(s):         Attorney(s) Present for Defendant(s):
               Adam Gonnelli                                   Sascha Henry
                Alison Bernal                                Abby Hess Meyer

  Proceedings:     Scheduling Conference

        Cause called and counsel make their appearances. The Court and counsel confer.
    The Court extends the time for plaintiff to file the amended complaint to January 4, 2018.
         The Court sets the last day to further move to amend pleadings for May 7, 2018. The
    Court directs plaintiff to file their class certification motion not later than June 1, 2018,
    with a hearing date of August 20, 2018 at 1:30 p.m. Counsel shall meet, confer and
    submit a stipulated briefing schedule for the Courts approval.
          Counsel inform the Court that their selection for a settlement procedure pursuant to
    Local Rule 16−15 is private mediation. The Court orders that any settlement discussions
    shall be completed not later than June 29, 2018. Counsel shall file a Joint Report of the
    parties regarding outcome of settlement discussions, the likelihood of possible further
    discussions and any help the Court may provide with regard to settlement negotiations not
    later than seven (7) days after the settlement conference.




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